                      IN THE UNITED STATES DISTRICT COURT FOR THE
                              WESTERN DISTRICT OF MISSOURI
                                   WESTERN DIVISION

UNITED STATES OF AMERICA,                         )
                                                  )
                                 Plaintiff,       )
                                                  )
                 v.                              ) Case No.        12-00363-19-CR-SJ-DGK
                                                  )
SCOTT M. PARKER,                                  )
                                                  )
                                 Defendant.       )


                                REPORT AND RECOMMENDATION
                                 CONCERNING PLEA OF GUILTY

         The Defendant appeared before me pursuant to Fed.R.Crim.P. 11, Local Rule 72(j)(26), and 28

U.S.C. ' 636 and entered a plea of guilty to the lesser included offense listed in Count(s) One and guilty to

Count(s) Two of the Superseding Indictment.      I determined that the guilty plea is knowledgeable and

voluntary and that the offense charged is supported by an independent basis in fact containing each of the

essential elements of such offense. A record was made of the proceedings and a transcript is available. I

therefore recommend that the plea of guilty be accepted and that the Defendant be adjudged guilty and have

sentence imposed accordingly.

         Failure to file written objections to this Report and Recommendation within fourteen (14) days

from the date of its service shall bar an aggrieved party from attacking such Report and Recommendation

before the assigned United States District Judge. 28 U.S.C. ' 636(b)(1)(B).




                                                           /s/ John T. Maughmer
                                                          JOHN MAUGHMER
                                                          United States Magistrate Judge
Dated:      November 23, 2015




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